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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


MARSHALL THOMAS, III                                   )
    Plaintiff,                                         )
                                                       )       C.A. NO. 1:19-CV-10645-PBS
v.                                                     )
                                                       )
U.S. BANK N.A., SUCCESSOR TRUSTEE TO                   )
BANK OF AMERICA, N.A., SUCCESSOR IN                    )
INTEREST TO LASALLE BANK, N.A.,                        )
AS TRUSTEE ON BEHALF OF WAMU                           )
MORTGAGE PASS-THROUGH                                  )
CERTIFICATES, SERIES 2006-AR18, AND                    )
SELECT PORTFOLIO SERVICING, INC.,                      )
      Defendants.                                      )

          ANSWER OF DEFENDANTS U.S. BANK N.A., SUCCESSOR TRUSTEE,
                  AND SELECT PORTFOLIO SERVICING, INC.

         Defendants U.S. Bank NA, Successor Trustee to Bank of America, NA, successor in

interest to LaSalle Bank NA, as Trustee, on behalf of WaMu Mortgage Pass-Through

Certificates, Series 2006-AR18 (the “Trustee”), and Select Portfolio Servicing, Inc. (“SPS”)

(collectively the “Defendants”) and hereby answer the Verified Complaint and Jury Demand of

Plaintiff Marshall Thomas, III (“Thomas”) as follows:

                                     NATURE OF THE CASE

         1.       The allegations state legal conclusions for which no answer is required. To the

extent that an answer is required, the Trustee and SPS deny the allegations.

                                    FEDERAL JURISDICTION

         2.       The allegations state legal conclusions for which no answer is required.

         3.       The allegations state legal conclusions for which no answer is required.




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                                               PARTIES

         4.       The Trustee and SPS lack sufficient knowledge to admit or deny the allegations,

and call upon Thomas to prove the same at trial.

         5.       Admit, except the main office of U.S. Bank National Association is located in

Minneapolis, Minnesota.

         6.       Admit.

                                 Count I – Invalid Notice of Default
                                                (U.S. Bank)

         7.       The Trustee and SPS repeat and incorporate by reference their responses to all

preceding paragraphs as if fully set forth herein.

         8.       Admit that Thomas holds a deed to the Property according to the documents

recorded in the Registry of Deeds, and purports to reside at the Property. Defendants lack

sufficient knowledge to admit or deny the remainder of the allegations.

         9.       Admit that Thomas granted a mortgage on the Property.

         10.      The allegations purport to pertain to the mortgage, which speaks for itself.

         11.      The allegations purport to pertain to the mortgage, which speaks for itself.

         12.      The allegations purport to pertain to the mortgage, which speaks for itself.

         13.      The allegations purport to pertain to the mortgage, which speaks for itself.

         14.      The allegations purport to pertain to a document, which speaks for itself.

         15.      The allegations purport to pertain to a document, which speaks for itself.

         16.      Denied.

         17.      The allegations state legal conclusions for which no answers are required. To the

extent that an answer is required, Defendants deny the allegations.




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               Count II – Contact While Represented by Counsel, M.G.L. ch. 93A
                                        (U.S. Bank and SPS)

         18.    The Trustee and SPS repeat and incorporate by reference their responses to all

preceding paragraphs as if fully set forth herein.

         19.    The allegations state legal conclusions for which no answers are required.

         20.    The allegations purport to pertain to a document, which speaks for itself.

         21.    The allegations purport to pertain to a document, which speaks for itself.

         22.    The allegations purport to pertain to a document, which speaks for itself.

         23.    The allegations purport to pertain to a document, which speaks for itself.

         24.    The allegations purport to pertain to a document, which speaks for itself.

         25.    Denied.

         26.    Denied.

                 Count III – Failure to Send Mortgage Payoff, M.G.L. ch. 183, § 54D
                                         (U.S. Bank and SPS)

         27.    The Trustee and SPS repeat and incorporate by reference their responses to all

preceding paragraphs as if fully set forth herein.

         28.    The allegations state legal conclusions for which no answers are required.

         29.    The allegations state legal conclusions for which no answers are required.

         30.    The allegation purports to pertain to a document, which speaks for itself.

         31.    The allegation purports to pertain to a document, which speaks for itself.

         32.    The allegation purports to pertain to a document, which speaks for itself.

         33.    The allegation purports to pertain to a document, which speaks for itself.

         34.    Denied.




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                                  AFFIRMATIVE DEFENSES

                                    First Affirmative Defense

         Thomas fails to state a claim upon which relief can be granted against SPS or the Trustee.

                                   Second Affirmative Defense
         Thomas waived the claims asserted in the Verified Complaint.

                                    Third Affirmative Defense

         Thomas is estopped from asserting the claims set forth in the Verified Complaint.

                                   Fourth Affirmative Defense

         Thomas lacks standing to assert the claims.

                                    Fifth Affirmative Defense

         Thomas is barred from pursuing the claims asserted the Verified Complaint due to the

failure by Thomas to perform under the note and mortgage as required.

                                    Sixth Affirmative Defense

         The claims asserted by Thomas are barred by the applicable statutes of limitations.

                                   Seventh Affirmative Defense

         To the extent Thomas suffered loss or damage, such loss or damage was caused by a

third-party not within the control of either SPS or the Trustee.

                                   Eighth Affirmative Defense

         To the extent Thomas suffered loss or damage, such loss or damage was caused by the

acts or omissions of Thomas.

                                    Ninth Affirmative Defense

         Thomas fails to establish any tangible injury or harm sustained by the alleged statutory

violations.




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                                      Tenth Affirmative Defense
         Thomas did not request a payoff of the mortgage in conjunction with a bona fide

refinance transaction.

                                    Eleventh Affirmative Defense

         Thomas cannot maintain a private right of action.

                                     Twelfth Affirmative Defense

         The claims asserted by Thomas in the Verified Complaint are barred by unclean hands.

                                   Thirteenth Affirmative Defense

         The Trustee and SPS did not commit any unfair or deceptive acts or practices with

respect to Thomas.

                                   Fourteenth Affirmative Defense

         The claims asserted by Thomas in the Verified Complaint are not ripe.

                                    Fifteenth Affirmative Defense

         Thomas failed to tender payment.

                                      REQUEST FOR RELIEF

         WHEREFORE, Select Portfolio Servicing, Inc. and Deutsche Bank National Trust

Company, as Trustee, respectfully request this Honorable Court to:

         1.       Enter judgment in their favor against Plaintiffs on all Counts of the Verified

                  Complaint;

         2.       Dismiss all Counts of the Verified Complaint and Jury Demand with prejudice;

         3.       Award attorneys’ fees and costs incurred in defending this action; and,

         4.       Grant such other and further relief as this Court deems just and proper.




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                                      Respectfully submitted,

                                      U.S. BANK N.A., SUCCESSOR TRUSTEE, AND
                                      SELECT PORTFOLIO SERVICING, INC.,

                                      By their attorneys,


                                      /s/ Peter F. Carr, II
                                      Peter F. Carr, II (B.B.O. #600069)
                                      ECKERT SEAMANS CHERIN & MELLOTT, LLC
                                      Two International Place, 16th Floor
                                      Boston, MA 02110-2602
                                      Telephone: 617.342.6800
                                      Facsimile: 617.342.6899
                                      pcarr@eckertseamans.com

Dated: April 25, 2019

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date the foregoing document(s) filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those parties which are as non-registered
participants.




                                      /s/ Peter F. Carr, II
                                      Peter F. Carr, II
Dated: April 25, 2019




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